                              1                                         Exhibit 1

                              2                               Noteholder Securities Claims

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Weil, Gotshal & Manges LLP




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 New York, NY 10153-0119
      767 Fifth Avenue




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Securities - Twenty-Fifth Omnibus Objection                                                                                                                     In re: PG&E Corporation and Pacific Gas and Electric Company
                                                                                                                Exhibit 1
Released Noteholder Securities Claims                                                                                                                                                  Case No 19-30088 Jointly Administered




                                                             Claims To Be Disallowed
  Original Creditor                                               and Expunged               Debtor       Date Filed    Secured     Administrative   Priority        Unsecured           Total          Basis for Objection


  BKM KUW                                                                              Pacific Gas and    6/25/2021     $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                                   107308
  525 Market Street Floor 12                                                           Electric                                                                                                         Securities Claims
                                                                                       Company
 San Francisco, CA 94105


  BNY Mellon Service Kapitalanlagegesellschaft mbH (on                                 PG&E               4/15/2020     $0.00          $0.00         $0.00          $18,295.31       $18,295.31        Released Noteholder
                                                                    99986
  behalf of Fund VWRA)                                                                 Corporation                                                                                                      Securities Claims
  TILP PLLC c/o TILP Litigation Rechtsanwaltsgesellschaft
  mbH Einhornstr. 21
 Kirchentellinsfurt, 72138


  Bravo Health Pennsylvania, Inc. OBO HSPBPA                                           Pacific Gas and    4/21/2020     $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                                   103055
  Attn: Maria Turner A4ACT 900 Cottage Grove Rd                                        Electric                                                                                                         Securities Claims
                                                                                       Company
 Bloomfield, CT 06002


  Bristol-Myers Squibb Pension Plan                                                    Pacific Gas and    4/16/2020     $0.00          $0.00         $0.00         $524,425.92       $524,425.92       Released Noteholder
                                                                   100920
  Scott Grisin, Assistant Treasurer 100 Nassau Park Blvd.,                             Electric                                                                                                         Securities Claims
  #300                                                                                 Company
 Princeton, NJ 08540


  Capital Group Global Absolute Income Grower                                          Pacific Gas and    4/16/2020     $0.00          $0.00         $0.00          $80,142.00       $80,142.00        Released Noteholder
                                                                   101921
  c/o Capital Research and Management Company Attn:                                    Electric                                                                                                         Securities Claims
  Kristine Nishiyama 333 South Hope Street, 55th floor                                 Company
 Los Angeles, CA 90071


  Capital Group Global Allocation Fund (LUX)                                           Pacific Gas and    4/16/2020     $0.00          $0.00         $0.00         $249,598.00       $249,598.00       Released Noteholder
                                                                   101923
  c/o Capital Research and Management Company Attn:                                    Electric                                                                                                         Securities Claims
  Kristine Nishiyama 333 South Hope Street, 55th floor                                 Company
 Los Angeles, CA 90071


  Capital Group Global Intermediate Bond Fund (LUX)                                    Pacific Gas and    4/16/2020     $0.00          $0.00         $0.00         $250,728.00       $250,728.00       Released Noteholder
                                                                   101698
  c/o Capital Research and Management Company Attn:                                    Electric                                                                                                         Securities Claims
  Kristine Nishiyama 333 South Hope Street, 55th floor                                 Company
 Los Angeles, CA 90071


  Capital Group World Bond Fund (Canada)                                               Pacific Gas and    4/16/2020     $0.00          $0.00         $0.00         $608,807.00       $608,807.00       Released Noteholder
                                                                   101945
  c/o Capital Research and Management Company Attn:                                    Electric                                                                                                         Securities Claims
  Kristine Nishiyama 333 South Hope Street, 55th floor                                 Company
 Los Angeles, CA 90071




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Securities - Twenty-Fifth Omnibus Objection                                                                                                                   In re: PG&E Corporation and Pacific Gas and Electric Company
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Released Noteholder Securities Claims                                                                                                                                                Case No 19-30088 Jointly Administered




                                                           Claims To Be Disallowed
  Original Creditor                                             and Expunged               Debtor       Date Filed    Secured     Administrative   Priority        Unsecured           Total          Basis for Objection


  Cascade Investment Group, Inc.                                                     PG&E               12/28/2021    $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                                 108036
  c/o Rolnick Kramer Sadighi LLP Attn: Richard A. Bodnar                             Corporation                                                                                                      Securities Claims
  1251 Avenue of the Americas
 New York, NY 10020


  Charleston Police Pension Fund                                                     PG&E               3/31/2022     $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                                 108364
  Brian Blockovich Chicago Clearing Corporation 404                                  Corporation                                                                                                      Securities Claims
  South Wells Street, Suite 600
 Chicago, IL 60607


  Cigna Behavioral Health of California, Inc. OBO MCCCA                              Pacific Gas and    4/21/2020     $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                                 102824
  Attn: Maria Turner A4ACT 900 Cottage Grove Rd                                      Electric                                                                                                         Securities Claims
                                                                                     Company
 Bloomfield, CT 06002


  Conneticut General Life Insurance Company OBO CII01                                Pacific Gas and    4/21/2020     $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                                 102761
  Attn: Maria Turner A4ACT 900 Cottage Grove Rd.                                     Electric                                                                                                         Securities Claims
                                                                                     Company
 Bloomfield, CT 06002


  Delaware VIP Diversified Income Series                                             PG&E               4/13/2020     $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                                  99299
  c/o Peter M. Saparoff, Esqu. Mintz Levin One Financial                             Corporation                                                                                                      Securities Claims
  Center
 Boston, MA 02111


  DRRT FBO HELABA INVEST                                                             Pacific Gas and    4/14/2020     $0.00          $0.00         $0.00         $462,531.00       $462,531.00       Released Noteholder
                                                                  99635
  KAPITALANLAGEGESELLSCHAFT MBH                                                      Electric                                                                                                         Securities Claims
  340 WEST FLAGLER STREET SUITE 201                                                  Company
 MIAMI, FL 33130


  DRRT FBO INTERNATIONALE                                                            Pacific Gas and    4/15/2020     $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                                 100154
  KAPITALANLAGEGESELLSCHAFT MBH (SSKD-                                               Electric                                                                                                         Securities Claims
  ACB)                                                                               Company
  340 WEST FLAGLER STREET SUITE 201
 MIAMI, FL 33130


  Gleaner Life Insurance Society                                                     Pacific Gas and    4/16/2020     $0.00          $0.00         $0.00          $54,165.00       $54,165.00        Released Noteholder
                                                                 100114
  Attn: Kaylene Armstrong 5200 West US HWY 223                                       Electric                                                                                                         Securities Claims
                                                                                     Company
 Adrian , MI 49221




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Securities - Twenty-Fifth Omnibus Objection                                                                                                                 In re: PG&E Corporation and Pacific Gas and Electric Company
                                                                                                            Exhibit 1
Released Noteholder Securities Claims                                                                                                                                              Case No 19-30088 Jointly Administered




                                                         Claims To Be Disallowed
  Original Creditor                                           and Expunged               Debtor       Date Filed    Secured     Administrative   Priority        Unsecured           Total          Basis for Objection


  GRD 5                                                                            Pacific Gas and    6/25/2021     $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                               107299
  525 Market Street Floor 12                                                       Electric                                                                                                         Securities Claims
                                                                                   Company
 San Francisco, CA 94105


  Hartford Balanced HLS Fund                                                       Pacific Gas and    4/16/2020     $0.00          $0.00         $0.00         $3,888,118.64    $3,888,118.64      Released Noteholder
                                                               101161
  Attn: Mike Egan Class Action Claims Management 11121                             Electric                                                                                                         Securities Claims
  Carmel Commons Blvd Suite 370                                                    Company
 Charlotte, NC 28226-4561


  Hartford Corporate Bond ETF                                                      Pacific Gas and    4/16/2020     $0.00          $0.00         $0.00         $217,085.53       $217,085.53       Released Noteholder
                                                               101227
  Attn: Mike Egan Class Action Claims Management 11121                             Electric                                                                                                         Securities Claims
  Carmel Commons Blvd, Suite 370                                                   Company
 Charlotte, NC 28226-4561


  Hartford Multi Asset Income & Growth Fund                                        Pacific Gas and    4/16/2020     $0.00          $0.00         $0.00         $1,327,515.00    $1,327,515.00      Released Noteholder
                                                               101264
  Class Action Claims Management Attn: Mike Egan 11121                             Electric                                                                                                         Securities Claims
  Carmel Commons Blvd Suite 370                                                    Company
 Charlotte, NC 28226-4561


  Hartford Total Return Bond ETF                                                   Pacific Gas and    4/16/2020     $0.00          $0.00         $0.00          $87,086.02       $87,086.02        Released Noteholder
                                                               101204
  Class Action Claims Management Attn: Mike Egan 11121                             Electric                                                                                                         Securities Claims
  Carmel Commons Blvd Suite 370                                                    Company
 Charlotte, NC 28226-4561


  Hartford Total Return Bond HLS Fund                                              Pacific Gas and    4/16/2020     $0.00          $0.00         $0.00         $5,425,900.00    $5,425,900.00      Released Noteholder
                                                               101225
  Attn: Mike Egan Class Action Claims Management 11121                             Electric                                                                                                         Securities Claims
  Carmel Commons Blvd Suite 370                                                    Company
 Charlotte, NC 28226-4561


  Hartford Total Return Bond HLS Fund                                              Pacific Gas and    4/16/2020     $0.00          $0.00         $0.00         $5,425,900.00    $5,425,900.00      Released Noteholder
                                                               102015
  Class Action Claims Management 11121 Carmel                                      Electric                                                                                                         Securities Claims
  Commons Blvd, Suite 370 Attn: Mike Egan                                          Company
 Charlotte, NC 28226-4561


  HCSC Credit Focus                                                                Pacific Gas and    6/25/2021     $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                               107301
  525 Market Street Floor 12                                                       Electric                                                                                                         Securities Claims
                                                                                   Company
 San Francisco, CA 94105




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Securities - Twenty-Fifth Omnibus Objection                                                                                                                 In re: PG&E Corporation and Pacific Gas and Electric Company
                                                                                                            Exhibit 1
Released Noteholder Securities Claims                                                                                                                                              Case No 19-30088 Jointly Administered




                                                         Claims To Be Disallowed
  Original Creditor                                           and Expunged               Debtor       Date Filed    Secured     Administrative   Priority        Unsecured           Total          Basis for Objection


  HIMCO Duration Matched Division Ser II                                           Pacific Gas and    4/16/2020     $0.00          $0.00         $0.00         $128,400.03       $128,400.03       Released Noteholder
                                                               101981
  Class Action Claims Management Attn: Mike Egan 11121                             Electric                                                                                                         Securities Claims
  Carmel Commons Blvd Suite 370                                                    Company
 Charlotte, NC 28226-4561


  HIMCO US Aggregate Bond Index Division                                           Pacific Gas and    4/16/2020     $0.00          $0.00         $0.00         $510,078.44       $510,078.44       Released Noteholder
                                                               100877
  Class Action Claims Management Attn: Mike Egan 11121                             Electric                                                                                                         Securities Claims
  Carmel Commons Blvd Suite 370                                                    Company
 Charlotte, NC 28226-4561


  IBM Plan Montgomery Core Fixed Income                                            Pacific Gas and    7/6/2021      $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                               107612
  525 Market Street floor 12                                                       Electric                                                                                                         Securities Claims
                                                                                   Company
 San Francisco, CA 94105


  IBM Plan Montgomery Core Fixed Income                                            Pacific Gas and    7/6/2021      $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                               107625
  525 Market Street Floor 12                                                       Electric                                                                                                         Securities Claims
                                                                                   Company
 San Francisco, CA 94105


  IBM Plan Montgomery Core Fixed Income                                            Pacific Gas and    7/6/2021      $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                               107627
  525 Market Street Floor 12                                                       Electric                                                                                                         Securities Claims
                                                                                   Company
 San Francisco, CA 94105


  IHIP- WellsCap LT Care Escrow                                                    Pacific Gas and    6/25/2021     $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                               107328
  525 Market Street floor 12                                                       Electric                                                                                                         Securities Claims
                                                                                   Company
 San Francisco, CA 94105


  IKYF KY Pimco PL Strategy                                                        Pacific Gas and    4/17/2020     $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                               102224
  Attn: Legal Department 11 Greenway Plaza, Suite 1000                             Electric                                                                                                         Securities Claims
                                                                                   Company
 Houston, TX 77046


  Invesco Grp TST Pimco A Core Fund                                                Pacific Gas and    4/17/2020     $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                               101974
  Attn: Legal Department 11 Greenway Plaza, Suite 1000                             Electric                                                                                                         Securities Claims
                                                                                   Company
 Houston, TX 77046


  Invesco Grp TST Pimco Core Bond FD                                               Pacific Gas and    4/17/2020     $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                               101822
  Attn: Legal Department 11 Greenway Plaza, Suite 1000                             Electric                                                                                                         Securities Claims
                                                                                   Company
 Houston, TX 77046




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Securities - Twenty-Fifth Omnibus Objection                                                                                                             In re: PG&E Corporation and Pacific Gas and Electric Company
                                                                                                        Exhibit 1
Released Noteholder Securities Claims                                                                                                                                          Case No 19-30088 Jointly Administered




                                                     Claims To Be Disallowed
  Original Creditor                                       and Expunged               Debtor       Date Filed    Secured     Administrative   Priority        Unsecured           Total          Basis for Objection


  James Donald Riddell Living Trust                                            Pacific Gas and    4/10/2020     $0.00          $0.00         $0.00          $18,670.24       $18,670.24        Released Noteholder
                                                            99060
  7434 Melrose Avenue                                                          Electric                                                                                                         Securities Claims
                                                                               Company
 Wauwatosa, WI 53213


  JHVIT Total Bond Market B                                                    PG&E               6/1/2021      $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                           107062
  John Hancock Investments 197 Clarendon Street                                Corporation                                                                                                      Securities Claims

 Boston, MA 02116


  John Hancock Core Bond Fund                                                  Pacific Gas and    7/6/2021      $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                           107650
  525 Market Street Floor 12                                                   Electric                                                                                                         Securities Claims
                                                                               Company
 San Francisco, CA 94105


  John Hancock Core Bond Fund                                                  Pacific Gas and    7/6/2021      $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                           107649
  525 Market Street Floor 12                                                   Electric                                                                                                         Securities Claims
                                                                               Company
 San Francisco, CA 94105


  John Hancock Core Bond Fund                                                  Pacific Gas and    7/6/2021      $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                           107644
  525 Market Street Floor 12                                                   Electric                                                                                                         Securities Claims
                                                                               Company
 San Francisco, CA 94105


  John Hancock Core Bond Trust                                                 Pacific Gas and    7/7/2021      $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                           107684
  525 Market Street, Floor 12                                                  Electric                                                                                                         Securities Claims
                                                                               Company
 San Francisco, CA 94105


  John Hancock Core Bond Trust (JHCBT)                                         Pacific Gas and    7/21/2021     $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                           107824
  525 Market Street Floor 12                                                   Electric                                                                                                         Securities Claims
                                                                               Company
 San Francisco, CA 94105


  John Hancock Variable Insurance Trust-Total Bond                             Pacific Gas and    6/3/2021      $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                           107141
  Market B                                                                     Electric                                                                                                         Securities Claims
  John Hancock Investments 197 Clarendon Street                                Company
 Boston, MA 02116


  Kaiser FND HLTHPLN Prem                                                      Pacific Gas and    6/25/2021     $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                           107307
  525 Market Street Floor 12                                                   Electric                                                                                                         Securities Claims
                                                                               Company
 San Francisco, CA 94105




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Securities - Twenty-Fifth Omnibus Objection                                                                                                                   In re: PG&E Corporation and Pacific Gas and Electric Company
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Released Noteholder Securities Claims                                                                                                                                                Case No 19-30088 Jointly Administered




                                                           Claims To Be Disallowed
  Original Creditor                                             and Expunged               Debtor       Date Filed    Secured     Administrative   Priority        Unsecured           Total          Basis for Objection


  KKR Bespoke Global Credit Opportunities (Ireland) Fund                             Pacific Gas and    4/16/2020     $0.00          $0.00         $0.00         $2,306,000.00    $2,306,000.00      Released Noteholder
                                                                 101782
  Designated Activity Company                                                        Electric                                                                                                         Securities Claims
  KKR Credit Advisors (US) LLC 555 California Street                                 Company
 San Francisco, CA 94104


  KKR Credit Advisors (US) LLC                                                       Pacific Gas and    4/16/2020     $0.00          $0.00         $0.00         $4,413,000.00    $4,413,000.00      Released Noteholder
                                                                 101906
  555 California Street, Floor 50                                                    Electric                                                                                                         Securities Claims
                                                                                     Company
 San Francisco, CA 94104


  KKR Global Credit Opportunities Master Fund LP                                     Pacific Gas and    4/16/2020     $0.00          $0.00         $0.00         $4,777,000.00    $4,777,000.00      Released Noteholder
                                                                 101564
  KKR Credit Advisors (US) LLC 555 California Street                                 Electric                                                                                                         Securities Claims
                                                                                     Company
 San Francisco, CA 94104


  KKR Income Opportunities Fund                                                      Pacific Gas and    4/16/2020     $0.00          $0.00         $0.00         $648,000.00       $648,000.00       Released Noteholder
                                                                 101903
  KKR Credit Advisors (US) LLC 555 California Street                                 Electric                                                                                                         Securities Claims
                                                                                     Company
 San Francisco, CA 94104


  Life Insurance Company of North America OBO                                        Pacific Gas and    4/21/2020     $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                                 103093
  LINACGS                                                                            Electric                                                                                                         Securities Claims
  Attn: Maria Turner A4ACT 900 Cottage Grove Rd.                                     Company
 Bloomfield, CT 06002


  Loyal American Life Insurance Company OBO                                          Pacific Gas and    4/21/2020     $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                                 103057
  GALOYAL                                                                            Electric                                                                                                         Securities Claims
  Attn: Maria Turner A4ACT 900 Cottage Grove Rd.                                     Company
 Bloomfield, CT 06002


  Merck & Co., Inc. Qualified Plans Master Trust                                     Pacific Gas and    7/1/2021      $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                                 107468
  525 Market Street Floor 12                                                         Electric                                                                                                         Securities Claims
                                                                                     Company
 San Francisco, CA 94105


  Mizuho Nova Premier Credit                                                         Pacific Gas and    6/25/2021     $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                                 107300
  525 Market Street Floor 12                                                         Electric                                                                                                         Securities Claims
                                                                                     Company
 San Francisco, CA 94105


  Mullady, Thomas A                                                                  Pacific Gas and    3/18/2020     $0.00          $0.00         $0.00          $15,965.46       $15,965.46        Released Noteholder
                                                                  97910
  820 Briarhill Drive                                                                Electric                                                                                                         Securities Claims
                                                                                     Company
 Newark, OH 43055




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Securities - Twenty-Fifth Omnibus Objection                                                                                                                    In re: PG&E Corporation and Pacific Gas and Electric Company
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Released Noteholder Securities Claims                                                                                                                                                 Case No 19-30088 Jointly Administered




                                                            Claims To Be Disallowed
  Original Creditor                                              and Expunged               Debtor       Date Filed    Secured     Administrative   Priority        Unsecured           Total          Basis for Objection


  National Railroad Retirement Investment Trust                                       Pacific Gas and    7/9/2021      $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                                  107697
  525 Market Street, Floor 12                                                         Electric                                                                                                         Securities Claims
                                                                                      Company
 San Francisco, CA 94105


  Oakbrook Terrace Police Pension Fund                                                PG&E               4/1/2022      $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                                  108379
  Chicago Clearing Corporation Attn: Brian Blockovich 404                             Corporation                                                                                                      Securities Claims
  South Wells Street, Suite 600
 Chicago, IL 60607


  Pacificsource - Taxable                                                             Pacific Gas and    6/25/2021     $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                                  107324
  525 Market Street Floor 12                                                          Electric                                                                                                         Securities Claims
                                                                                      Company
 San Francisco, CA 94105


  PacificSource Health Plans Taxable                                                  Pacific Gas and    6/25/2021     $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                                  107320
  525 Market Street Floor 12                                                          Electric                                                                                                         Securities Claims
                                                                                      Company
 San Francisco, CA 94105


  PBEAKK                                                                              Pacific Gas and    6/25/2021     $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                                  107314
  525 Market Street floor 12                                                          Electric                                                                                                         Securities Claims
                                                                                      Company
 San Francisco, CA 94105


  POC for KKR DAF Global Opportunistic Credit Fund                                    Pacific Gas and    4/16/2020     $0.00          $0.00         $0.00         $454,000.00       $454,000.00       Released Noteholder
                                                                  101642
  DAC                                                                                 Electric                                                                                                         Securities Claims
  KKR Credit Advisors (US) LLC 555 California Street                                  Company
 San Francisco, CA 94104


  Prudential VCAGI2007MCF                                                             Pacific Gas and    7/1/2021      $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                                  107491
  525 Market Street floor 12                                                          Electric                                                                                                         Securities Claims
                                                                                      Company
 San Francisco, CA 94105


  Prudential VCAGI2007MCF                                                             Pacific Gas and    7/1/2021      $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                                  107515
  525 Market Street floor 12                                                          Electric                                                                                                         Securities Claims
                                                                                      Company
 San Francisco, CA 94105


  Prudential VCAGI2007MCF                                                             Pacific Gas and    7/7/2021      $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                                  107683
  525 Market Street floor 12                                                          Electric                                                                                                         Securities Claims
                                                                                      Company
 San Francisco, CA 94105




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Securities - Twenty-Fifth Omnibus Objection                                                                                                                 In re: PG&E Corporation and Pacific Gas and Electric Company
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Released Noteholder Securities Claims                                                                                                                                              Case No 19-30088 Jointly Administered




                                                         Claims To Be Disallowed
  Original Creditor                                           and Expunged               Debtor       Date Filed    Secured     Administrative   Priority        Unsecured           Total          Basis for Objection


  Prudential VCAGI2007MCF                                                          Pacific Gas and    7/1/2021      $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                               107483
  525 Market Street floor 12                                                       Electric                                                                                                         Securities Claims
                                                                                   Company
 San Francisco, CA 94105


  Qalhat                                                                           Pacific Gas and    7/9/2021      $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                               107688
  525 Market Street, Floor 12                                                      Electric                                                                                                         Securities Claims
                                                                                   Company
 San Francisco, CA 94105


  RI Higher EDU SVGS TST 529 Voya Int                                              Pacific Gas and    4/17/2020     $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                               102228
  Attn: Legal Department 11 Greenway Plaza, Suite 1000                             Electric                                                                                                         Securities Claims
                                                                                   Company
 Houston, TX 77046


  San Antonio Community Hospital - Board Designated                                Pacific Gas and    6/25/2021     $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                               107302
  525 Market Street Floor 12                                                       Electric                                                                                                         Securities Claims
                                                                                   Company
 San Francisco, CA 94105


  SDV Renten USD 1                                                                 Pacific Gas and    6/25/2021     $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                               107305
  525 Market Street Floor 12                                                       Electric                                                                                                         Securities Claims
                                                                                   Company
 San Francisco, CA 94105


  SEI Institutional Managed Trust (SIMT)                                           Pacific Gas and    7/2/2021      $0.00          $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                               107533
  525 Market Street floor 12                                                       Electric                                                                                                         Securities Claims
                                                                                   Company
 San Francisco, CA 94105


  Tactical Value SPN-Global Credit Opportunities L.P.                              PG&E               4/16/2020     $0.00          $0.00         $0.00         $4,413,000.00    $4,413,000.00      Released Noteholder
                                                               101996
  KKR Credit Advisors (US) LLC 555 California Street                               Corporation                                                                                                      Securities Claims

 San Francisco, CA 94104


  The Hartford Balanced Income Fund                                                Pacific Gas and    4/16/2020     $0.00          $0.00         $0.00        $16,810,756.27   $16,810,756.27      Released Noteholder
                                                               101165
  Attn: Mike Egan Class Action Claims Management 11121                             Electric                                                                                                         Securities Claims
  Carmel Commons Blvd Suite 370                                                    Company
 Charlotte, NC 28226-4561


  The Hartford Strategic Income Fund                                               Pacific Gas and    4/16/2020     $0.00          $0.00         $0.00         $976,812.20       $976,812.20       Released Noteholder
                                                               101189
  Attn: Mike Egan Class Action Claims Management 1121                              Electric                                                                                                         Securities Claims
  Carmel Commons Blvd Suite 370                                                    Company
 Charlotte, NC 28226-4561




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Securities - Twenty-Fifth Omnibus Objection                                                                                                                   In re: PG&E Corporation and Pacific Gas and Electric Company
                                                                                                             Exhibit 1
Released Noteholder Securities Claims                                                                                                                                                Case No 19-30088 Jointly Administered




                                                           Claims To Be Disallowed
  Original Creditor                                             and Expunged               Debtor      Date Filed    Secured      Administrative   Priority        Unsecured           Total          Basis for Objection


  The Hartford Total Return Bond Fund                                                Pacific Gas and   4/16/2020     $0.00           $0.00         $0.00         $4,698,521.25    $4,698,521.25      Released Noteholder
                                                                 101383
  Attn: Mike Egan Class Action Claims Management 1121                                Electric                                                                                                         Securities Claims
  Carmel Commons Blvd Suite 370                                                      Company
 Charlotte, NC 28226-4561


  The Penn Mutual Life Insurance Company                                             Pacific Gas and   8/11/2021     $0.00           $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                                 107876
  Penn Mutual Asset Management, LLC Attn: Ryan Boyd                                  Electric                                                                                                         Securities Claims
  600 Dresher Road Suite 100                                                         Company
 Horsham, PA 19044


  The Penn Mutual Life Insurance Company                                             Pacific Gas and   8/11/2021     $0.00           $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                                 107878
  Penn Mutual Asset Management, LLC Attn: Ryan Boyd                                  Electric                                                                                                         Securities Claims
  600 Dresher Road Suite 100                                                         Company
 Horsham, PA 19044


  The Port Authority of New York and New Jersey                                      Pacific Gas and   4/16/2020     $0.00           $0.00         $0.00         $185,480.20       $185,480.20       Released Noteholder
                                                                 100621
  PANYNJ OPEB Trust c/o Treasury/Portfolio 4 World                                   Electric                                                                                                         Securities Claims
  Trade Center, 19th Floor                                                           Company
 New York, NY 10007


  The Weld Trust                                                                     PG&E              1/11/2022     $0.00           $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                                 108121
  Richard A. Bodnar Rolnick Kramer Sadighi LLP 1251                                  Corporation                                                                                                      Securities Claims
  Avenue of the Americas
 New York, NY 10020


  Thrivent Mutual Funds - Thrivent Income Fund                                       PG&E              6/24/2021     $0.00           $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                                 107286
  Attn: Marc Kramer, Lawrence Rolnick, Sheila Sadighi,                               Corporation                                                                                                      Securities Claims
  Michael Hampson, Richard Bodnar, Michael James
  Rolnick Kramer Sadighi LLP 1251 Avenue of the
  Americas
 New York, NY 10020


  Thrivent Series Fund, Inc. - Thrivent Income Portfolio                             PG&E              6/24/2021     $0.00           $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                                 107261
  Attn: Marc Kramer, Lawrence Rolnick, Sheila Sadighi,                               Corporation                                                                                                      Securities Claims
  Michael Hampson, Richard Bodnar, Michael James
  Rolnick Kramer Sadighi LLP 1251 Avenue of the
  Americas
 New York, NY 10020


  Toyota Motor Insurance Company                                                     Pacific Gas and   6/25/2021     $0.00           $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                                 107316
  525 Market Street Floor 12                                                         Electric                                                                                                         Securities Claims
                                                                                     Company
 San Francisco, CA 94105


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Securities - Twenty-Fifth Omnibus Objection                                                                                                                   In re: PG&E Corporation and Pacific Gas and Electric Company
                                                                                                           Exhibit 1
Released Noteholder Securities Claims                                                                                                                                                Case No 19-30088 Jointly Administered




                                                         Claims To Be Disallowed
  Original Creditor                                           and Expunged               Debtor      Date Filed    Secured        Administrative   Priority        Unsecured           Total          Basis for Objection


  Vantis Life Insurance Company                                                    Pacific Gas and   8/11/2021     $0.00             $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                               107874
  Penn Mutual Asset Management, LLC Attn: Ryan Boyd                                Electric                                                                                                           Securities Claims
  600 Dresher Road Suite 100                                                       Company
 Horsham, PA 19044


  Vantis Life Insurance Company                                                    Pacific Gas and   8/11/2021     $0.00             $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                               107875
  Penn Mutual Asset Management, LLC Attn: Ryan Boyd                                Electric                                                                                                           Securities Claims
  600 Dresher Road Suite 100                                                       Company
 Horsham, PA 19044


  VIRGINIA529 VS ING CUSTODY MV                                                    Pacific Gas and   4/17/2020     $0.00             $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                               102172
  Attn: Legal Department 11 Greenway Plaza, Suite 1000                             Electric                                                                                                           Securities Claims
                                                                                   Company
 Houston, TX 77046


  Visa Retirement Plan                                                             Pacific Gas and   4/16/2020     $0.00             $0.00         $0.00         $1,428,313.00    $1,428,313.00      Released Noteholder
                                                               101338
  Lisa Ma Visa Inc 900 Metro Center Blvd., M1-12SW                                 Electric                                                                                                           Securities Claims
                                                                                   Company
 Foster City, CA 94404


  WEC Energy Group, Inc.                                                           Pacific Gas and   7/1/2021      $0.00             $0.00         $0.00            $0.00             $0.00          Released Noteholder
                                                               107474
  525 Market Street Floor 12                                                       Electric                                                                                                           Securities Claims
                                                                                   Company
 San Francisco, CA 94105


  Yama-Guchi, Keijiroh                                                             Pacific Gas and   7/4/2020      $0.00             $0.00         $0.00          $10,000.00       $10,000.00        Released Noteholder
                                                               105896
  PO Box 519                                                                       Electric                                                                                                           Securities Claims
                                                                                   Company
 Media, PA 19063


  Claims To Be Expunged Totals                                 Count: 83                                               $0.00        $0.00          $0.00       $60,414,294.51     $60,414,294.51




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